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CGFD74 (12/1/15)

                                   United States Bankruptcy Court
                                              Southern District of Florida
                                                www.flsb.uscourts.gov
                                                                                              Case Number: 17−16077−RAM
                                                                                              Chapter: 13


In re:
Arturo Santiesteban−Zaragoz
961 West 39th Pl
Hialeah, FL 33012

SSN: xxx−xx−1054




  NOTICE OF REQUIREMENT TO FILE LOCAL FORM "DEBTOR'S CERTIFICATE
         OF COMPLIANCE, MOTION FOR ISSUANCE OF DISCHARGE
                 AND NOTICE OF DEADLINE TO OBJECT"



    PLEASE TAKE NOTICE: Under Local Rule 4004−3(A)(3), upon the filing by the trustee of the Notice
of Completion of Plan Payments, the debtor is required to file and serve the attached Local Form "Debtor's
Certificate of Compliance, Motion for Issuance of Discharge and Notice of Deadline to Object" on all
parties of record. The trustee filed the notice of completion of plan payments and the debtor has failed to
timely file the Local Form "Debtor's Certificate of Compliance, Motion for Issuance of Discharge and Notice
of Deadline to Object."


    NOTICE IS HEREBY GIVEN THAT the debtor must serve and file the Certificate and Motion within 30
days of the date of this notice or the above case may be closed without entry of a discharge and notice will
be provided to all parties of record that the case was closed without entry of a discharge. If the debtor is
appearing pro se, the clerk's office will provide notice of this Certificate and Motion to all parties of record
after it has been filed with the court. If the case is closed without entry of a discharge and the debtor
subsequently moves to reopen the case for the purpose of obtaining a discharge, the debtor will be
required to pay a reopening fee and file the Local Form "Debtor's Certificate of Compliance, Motion for
Issuance of Discharge and Notice of Deadline to Object" and serve it (unless the debtor is pro se whereby
the clerk shall provide service) as required by Local Rule 4004−3(A)(3).



Dated:5/6/20                                                     CLERK OF COURT
                                                                 By: Amber Rios
                                                                 Deputy Clerk




Enc. Local Form "Debtor's Certificate of Compliance, Motion for Issuance of Discharge and Notice of Deadline to Object"



The clerk shall serve a copy of this notice on the Debtor.
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                                            United States Bankruptcy Court
                                                         Southern District of Florida
                                                           www.flsb.uscourts.gov
                                                             Division: Miami
                                                                                                                          Case Number: 17−16077−RAM
                                                                                                                          Chapter: 13



In re:

Name of Debtor(s): Arturo Santiesteban−Zaragoz

_________________________________________________________/



                                            DEBTOR'S CERTIFICATE OF COMPLIANCE,
                                           MOTION FOR ISSUANCE OF DISCHARGE AND
                                               NOTICE OF DEADLINE TO OBJECT


                                                         NOTICE OF TIME TO OBJECT


Any interested party who fails to file and serve a written response to this motion within 21 days
after the date of service of this motion shall, pursuant to Local Rules 4004−3(A)(3) and 9013−1(D),
be deemed to have consented to the entry of an order of discharge.


The debtor(s)*, __________________________________________________, in the above captioned
matter certifies as follows:



      1.        The chapter 13 trustee has issued a Notice of Completion of Plan Payments on
                _________________. The debtor is requesting the court issue a discharge in this case.


      2.        The debtor has completed an instructional course concerning personal financial management
                described in 11 U.S.C. §111 and proof of completion of the course was filed with the court on
                __________________.


      3.        Compliance with 11 U.S.C. §101(14A):


                _____ A. The debtor has not been required by a judicial or administrative order, or by statute
                         to pay any domestic support obligation as defined in 11 U.S.C. §101(14A) either
                         before this bankruptcy was filed or at any time after the filing of this bankruptcy,


                                                                                 OR


    * All further references to "debtor" shall include and refer to both of the debtors in a case filed jointly by two individuals, unless any information is
noted as specifically applying to only one debtor.
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              _____ B. The debtor certifies that as of the date of this certification, the debtor has paid all
                       amounts due under any and all domestic support obligations as defined in 11 U.S.C.
                       §101(14A), required by a judicial or administrative order or by statute, including
                       amounts due before, during and after this case was filed. The name and address of
                       each holder of a domestic support obligation is as follows:
                                ________________________________________
                                ________________________________________
                                ________________________________________
                                ________________________________________

    4.        The debtor's most recent address is as follows: [Note: Providing an updated debtor address
              here constitutes a change of address pursuant to Local Rule 2002−1(G). No separate Notice of
              Change of Address is required to be filed.]

                                ________________________________________
                                ________________________________________
                                ________________________________________


    5.        The name and address of the debtor's most recent employer is as follows:

                                ________________________________________
                                ________________________________________
                                ________________________________________
                                ________________________________________


    6.        The following creditors hold a claim that is not discharged under 11 U.S.C. §523(a)(2) or (a)(4)
              or a claim that was reaffirmed under 11 U.S.C. §524(c):

                                ________________________________________
                                ________________________________________


    7.        Compliance with 11 U.S.C. §1328(h):


              _____ A. The debtor has not claimed an exemption under §522(b)(3) in an amount in excess
                       of $155,675* in property of the kind described in §522(q)(1) [generally the debtor's
                       homestead];

                                                                           OR

              _____ B. The debtor has claimed an exemption under §522(b)(3) in an amount in excess of
                       $155,675* in property of the kind described in §522(q)(1) but there is no pending
                       proceeding in which the debtor may be found guilty of a felony of a kind described in
                       §522(q)(1)(A) or found liable for a debt of the kind described in §522(q)(1)(B).

   * Amounts are subject to adjustment on 4/01/16, and every 3 years thereafter with respect to cases commenced on or after the date of adjustment.
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    8.      The debtor has not received a discharge in a case filed under chapter 7, 11, or 12 during the 4
            year period preceding the filing of the instant case or in a case filed under chapter 13 during the
            2 year period preceding the filing of the instant case.




I declare under penalty of perjury that the information provided in this Certificate is true and correct.




                                                         _________________________________________
                                                         Debtor, Arturo Santiesteban−Zaragoz




                                     CERTIFICATE OF SERVICE



Attach or file separately a Local Rule 2002−1(F) certificate of service reflecting manner and date of service
on parties in interest.

If the Debtor is appearing pro−se, the clerk's office will serve this Certificate and Motion.
